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 1                                                                                  Hon. Richard A. Jones
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
     UNITED STATES OF AMERICA,
 9                                                                  No. CR11-159RAJ
                                   Plaintiff,
10
                 v.                                                 ORDER DENYING MOTION FOR
11                                                                  REDUCTION OF SENTENCE
     HERIBERTO PEREZ RUIZ,
12
                                   Defendant.
13

14                                              I. INTRODUCTION
15           This matter comes before the court on Defendant Heriberto Perez Ruiz’s pro se
16   motion requesting a reduction in his sentence under 18 U.S.C. § 3582(c)(2), based
17   on Amendments 782 and 788 to the United States Sentencing Guidelines (“USSG”)
18   (Dkt. #531). Plaintiff United States of America opposes the motion (Dkt. #538).

19   The court has thoroughly considered the parties’ briefing, the relevant record, and

20   the applicable law. Being fully advised,1 the court DENIES Mr. Perez Ruiz’s
     motion for the reasons stated below.
21
                                                II. BACKGROUND
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             Defendant Heriberto Perez Ruiz was sentenced by this court on July 13 2012,
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     following his plea of guilty to conspiracy to distribute controlled substances and
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     conspiracy to engage in money laundering.
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     1
         No party has requested it, and the court finds oral argument to be unnecessary.

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 1        At the time of sentencing the court calculated Defendant’s total offense level as
 2   38, and then assessed a 2-point upward adjustment for possession of a firearm and
 3   an additional 2-point upward adjustment for money laundering. The court then
 4   applied a 2-point reduction for safety valve, a 3-point reduction for acceptance of

 5   responsibility, and a 2-point reduction for minor role in the offense. These

 6   adjustments brought Defendant’s total offense level down to a Level 35. Because
     Defendant’s starting base offense level was 38, and he received a minor role
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     reduction, the court then applied an additional 4-point reduction, bringing the total
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     offense level to 31. Because Defendant had a Criminal History Category I, the
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     resulting Guidelines range was 108 to 135 months. This court then varied
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     downward from that range on the basis of various 18 U.S.C. § 3553(a) factors and
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     imposed a sentence of 96 months of imprisonment.
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                                      III. DISCUSSION
13        A. Legal Standard
14        Amendment 782 to the United States Sentencing Guidelines, which became
15   effective November 1, 2014, lowered the penalties for most drug offenses by
16   reducing most base offense levels contained in the USSG § 2D1.1 Drug Quantity
17   Table by two levels, and making other related adjustments to this Guideline. Along
18   with Amendment 782, the Sentencing Commission adopted Amendment 788, which
19   decreed that Amendment 782 may be applied retroactively to lower the sentences of

20   previously sentenced inmates. At issue in the instant motion is whether this Court
     has authority to reduce Defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2).
21
          In order to qualify for a sentence reduction under 18 U.S.C. § 3582(c)(2), two
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     conditions must be met: (1) the Defendant must have been sentenced to a term of
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     imprisonment based on a sentencing range that has been lowered by a retroactively
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     applicable Guidelines amendment; and (2) the sentence reduction sought must be
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     consistent with the Sentencing Commission’s applicable policy statements. United
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     States v. Waters, 771 F.3d 679, 680 (9th Cir. 2014) (per curiam). A district court

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 1   does not have jurisdiction to reduce the Defendant’s sentence unless both criteria are
 2   met. See United States v. Wesson, 583 F.3d 728, 730 (9th Cir. 2009).
 3        B. Defendant’s Motion
 4        Under the retroactively effective amendments to USSG § 2D1.1, Defendant’s

 5   base offense level would be reduced by two levels, from Level 38 to Level 36.

 6   Applying all of the same Guidelines decisions, this results in an amended total
     offense level of 30. The net reduction is only one offense level, rather than two,
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     because the new base offense level of 36 is eligible only for an offense level
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     discount of three levels (whereas, the higher original base offense level of 38 was
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     eligible for a discount of four levels). See USSG § 2D1.1(a)(5)(B)(ii). This in turn
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     results in an amended Guideline range of 97 to 121 months as the range that would
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     be applicable today. Because the sentence already imposed (96 months) is below the
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     low end of the range as calculated applying the amended Guidelines (97 months),
13   the policy statement precludes any reduction in sentence. As such, this Court lacks
14   jurisdiction to reduce Defendant’s sentence.
15                                   IV. CONCLUSION
16        Because the sentence that Defendant is serving is already below the low end of
17   the applicable sentencing range as calculated applying the amendments to USSG
18   § 2D1.1, Defendant is ineligible for a reduction in sentence under 18 U.S.C.

19   3582(c)(2). Therefore, Defendant Heriberto Perez Ruiz’s pro se Motion to Reduce

20   Sentence (Dkt. #531) is DENIED.
          DATED this 9th day of December, 2015.
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23
                                                      A
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
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